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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA


In Re: TAXOTERE (DOCETAXEL)                                                       MDL NO. 2740
PRODUCTS LIABILITY LITIGATION

                                                                                  SECTION “H” (5)

THIS DOCUMENT RELATES TO:
ALL CASES

       MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ RENEWED
      MOTION FOR ENTRY OF AN ORDER REQUIRING PROOF OF DIAGNOSIS

         The Sanofi Defendants have reached an agreement-in-principle with certain plaintiffs to

settle a significant portion of the matters currently pending before this Court or previously

remanded from these proceedings. In light of this agreement, the advanced age of this litigation,

and the Plaintiffs’ ongoing failure to seek, much less provide, evidence of their alleged injury and

its cause, Defendants renew their Motion for Entry of an Order Requiring Proof of Diagnosis. The

Court previously deferred Sanofi’s Motion, but the time is now ripe for addressing Sanofi’s

request.

         All Plaintiffs in this MDL allege that they have permanent chemotherapy-induced alopecia

(“PCIA”) caused by Taxotere. 1 In order to succeed, every Plaintiff has the burden to prove a

diagnosis of that specific injury, by that specific cause. Yet, more than seven years into this MDL

(after the Court has decided more than a dozen Daubert and dispositive motions and presided over

two bellwether trials), at least 80 percent of Plaintiffs have no medical evidence of their alleged

injury or its cause. 2 Indeed, more than 80 percent of the Plaintiffs who submitted fact sheets admit




1
     See Second Am. Master Compl. ¶¶ 5–7, 181, 231, 247.
2
     Rec. Doc. 15834 at 21 (Summary of MDL 2740 Proceedings Upon Suggestion of Remand or Transfer).
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that they have never been diagnosed with their claimed injury and a majority of those admit that

they have never even inquired with a medical provider as to what may have caused their hair loss.

This failure to conduct even a minimal amount of investigation into the alleged injury and its

alleged cause, after years of litigation, has been and continues to be a hurdle to evaluating and

moving the remaining inventory forward.

         Under these circumstances, Sanofi requests that the Court exercise its authority under Rule

16(c)(2)(L) and enter an order requiring each remaining Plaintiff to do the following:

         (1)      Certify her willingness to proceed,

         (2)      Provide updated authorizations and an updated Plaintiff Fact Sheet,

         (3)      Submit an expert medical declaration by a qualified physician diagnosing the

                  Plaintiff with PCIA caused by Taxotere, and

         (4)      Participate in certain, limited discovery material to mediation of these cases. 3

Such an order would “promote the just and efficient conduct” of cases in this MDL (28 U.S.C.

§ 1407), streamline the litigation, conserve judicial and party resources by avoiding additional

expenditures on cases with no medical diagnosis, and advance efforts to resolve more cases.

                                            LEGAL STANDARD

         Under Rule 16, the Court may “adopt[] special procedures for managing potentially

difficult or protracted actions that may involve complex issues, multiple parties, difficult legal

questions, or unusual proof problems.” Fed. R. Civ. P. 16(c)(2)(L). Consistent with the Court’s

discretion under Rule 16, orders requiring proof of injury and causation (often referred to as Lone

Pine orders) are “routinely used by courts to manage mass tort cases.” In re Vioxx Prods. Liab.

Litig., 557 F. Supp. 2d 741, 743 (E.D. La. 2008) (citing Acuna v. Brown & Root Inc., 200 F.3d


3
     A proposed order is attached as Exhibit A.


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335, 340 (5th Cir. 2000)), aff’d, 388 F. App’x 391 (5th Cir. 2010); see also In re Xarelto

(Rivaroxaban) Prods. Liab. Litig., 2021 WL 493069, at *2 (E.D. La. Feb. 10, 2021) (same); In re

Avandia Mktg., Sales Practices & Prods. Liab. Litig., 687 F. App’x 210, 214 (3d Cir. 2017) (such

orders are “routine” and within the “wide latitude” of the MDL court); David F. Herr, Ann. Manual

for Complex Lit. § 11.34 (4th ed. 2020) (noting that such orders are “widely used in mass torts to

isolate spurious claims”).

       Although orders requiring such proof may vary in scope, they generally require plaintiffs

“to make a prima facie showing of injury and causation by providing facts of an individual

plaintiff’s exposure to alleged toxic substances, combined with expert medical testimony

supporting the claims of injury and causation by the alleged toxic substances.” Trujillo v. Ametek,

Inc., No. 15-cv-1394, 2016 WL 3552029, at *1 (S.D. Cal. June 28, 2016) (emphasis added); see

also In re Vioxx Prods. Liab. Litig., 557 F. Supp. 2d at 743 (explaining that the purpose of a Lone

Pine order is to allow litigants and courts “to identify and cull potentially meritless claims and

streamline litigation in complex cases involving numerous claimants” (quoting Baker v. Chevron

USA, Inc., 2007 WL 315346, at *1 (S.D. Ohio Jan. 30, 2007))).

       In deciding whether to enter such an order, courts consider a number of factors, including

(1) the posture of the action, see In re Vioxx Prod. Liab. Litig., 557 F. Supp. 2d at 744 (citing the

advanced state of the litigation as justification for entry of a Lone Pine order); (2) the particular

case-management needs of the case, including litigation history that suggests many plaintiffs

cannot establish causation, see In re Fosamax Prod. Liab. Litig., No. 06 MD 1789 JFK, 2012 WL

5877418, at *3 (S.D.N.Y. Nov. 20, 2012) (entering Lone Pine order because “the Court ha[d]

reason to believe that spurious or meritless cases are lurking in the some 1,000 cases on the MDL

docket”); and (3) the availability and efficacy of more traditional case management procedures,



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see In re Digitek Prod. Liab. Litig., 264 F.R.D. 249, 259 (S.D.W. Va. 2010) (holding that existing

case management tools were sufficient “at this [early] stage in [the] litigation,” but warning that a

Lone Pine order might be appropriate if those tools proved unable to “accommodate the unique

issues of this litigation”).

         All of these considerations weigh heavily in favor of granting Defendants’ Motion.

                                                   ARGUMENT

         This Court should enter Defendants’ proposed order for at least three reasons. First, the

order is appropriate given the advanced stage of the litigation and agreement-in-principle to settle

a substantial portion of the cases. Second, there is evidence that many of the remaining Plaintiffs

will not be able to prove causation, and no further resources should be wasted on such cases. And

third, the order is appropriate because the Court’s best case management efforts still have not

persuaded Plaintiffs to investigate the validity of their allegations.

         A.       The proposed order is warranted given the advanced stage of this litigation.

         Although courts routinely require proof of injury and causation at the outset of mass tort

litigation, 4 Lone Pine orders stand on particularly firm ground when the litigation is well-advanced

and a substantial portion of the cases have settled or an agreement-in-principle has been reached.

         In In re Vioxx, the court recognized that, “[i]n crafting a Lone Pine order, a court should

strive to strike a balance between efficiency and equity,” and such orders may not be suitable at

every stage in the litigation. 557 F. Supp. 2d at 744. The court reasoned that it may not have been


4
     See, e.g., Acuna, 200 F.3d at 340–41 (affirming the district court’s entry of an order requiring 1,600 plaintiffs to
     produce expert reports on injury and causation allegedly stemming from uranium exposure, before discovery);
     see also Steering Comm. v. Exxon Mobil Corp., 461 F.3d 598, 604 n.2 (5th Cir. 2006) (describing Lone
     Pine orders as “pre-discovery orders” designed to handle the complex issues and potential burdens on defendants
     and the court in mass tort litigation by requiring plaintiffs to produce some evidence to support a credible claim.”
     (citation omitted)); In re AET Inc. Ltd., No. 10-0051, 2018 WL 4203351, at *2 (E.D. Tex. Feb. 13,
     2018) (same)); Modern Holdings, LLC v. Corning Inc., No. 13-0405, 2015 WL 6482374, at *1 (E.D. Ky. Oct. 27,
     2015) (same).


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fair to enter a Lone Pine order before any discovery had taken place, as “little was known about

the structure, nature and effect of Vioxx by anyone other than perhaps the manufacturer of the

drug.” 557 F. Supp. 2d at 744. But, as the case moved forward, the balance shifted. By the time

the Vioxx court entered its Lone Pine order, the MDL had been under way for more than three

years. The plaintiffs had ample access to the defendants’ documents and deposition testimony and

for years had been studying and exploring the effects of Vioxx on the human body. Id. The court

had also conducted a number of bellwether trials, which highlighted expert testimony from the

defendants and the plaintiffs on causation. Id. In light of the “advanced stage of the litigation,” the

court held that it was “reasonable to require Plaintiffs to come forward and show the basis for their

beliefs and show some kind of basic evidence of specific causation.” Id. Other courts have likewise

cited the advanced stage of the litigation, particularly the availability of significant discovery,

when ordering plaintiffs to submit proof of their injuries and alleged cause. See In re Fosamax

Prod. Liab. Litig., No. 06 MD 1789 JFK, 2012 WL 5877418, at *3; Barrett v. Dresser, LLC, No.

1:20-CV-01346, 2023 WL 6613163, at *4 (W.D. La. Oct. 10, 2023); Avila v. Willits Env't

Remediation Tr., 633 F.3d 828, 834 (9th Cir. 2011).

         After seven years of litigation, the Taxotere MDL is even more advanced. Twenty-eight

Sanofi witnesses were deposed during general discovery, and multiple additional Sanofi witnesses

sat for deposition in case-specific workup. 5 Sanofi has also produced 576,100 documents totaling

6.3 million pages. The Court also permitted case-specific workup during a bellwether process that

ended in two trials. As part of that process, both sides’ expert opinions were vetted and subject to

Rule 702 challenges. 6 Plaintiffs can no longer argue that a Lone Pine order would be unfair because


5
     Rec. Doc. 15834 at 7–8 (Summary of MDL 2740 Proceedings Upon Suggestion of Remand or Transfer).
6
     Rec. Doc. 15834 at 38–44 (Summary of MDL 2740 Proceedings Upon Suggestion of Remand or Transfer).


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they have not had an opportunity to conduct discovery related to Taxotere and its alleged link to

permanent hair loss. Those issues have been litigated by both sides for the past seven years. At

this late stage, “it is not too much to ask Plaintiff[s] to provide some kind of evidence to support

their claim that [Sanofi] caused them personal injury.” See In re Vioxx, 557 F. Supp. 2d at 744.

       Furthermore, orders requiring evidence of injury and causation “may be particularly

appropriate when a defendant has taken steps to settle a significant portion of the claims pending

against it.” In re Testosterone Replacement Therapy Prod. Liab. Litig., No. 1:14-CV-01748, 2018

WL 6258898, at *3 (N.D. Ill. June 11, 2018). Sanofi recently agreed in principle to settle a

substantial portion of the cases filed in this litigation and continues to resolve single-firm

inventories of Taxotere hair loss cases. Entry of the order at this time will help facilitate moving

the remaining claims forward and will also ensure that the cases have baseline merit. When

litigation is advanced, and settlement has been achieved for some portion, requiring non-settling

Plaintiffs to produce evidence of injury and causation will reduce the time and costs that all

involved (the Courts and the parties) will incur in resolving the remaining claims.

       B.      The history of the litigation in this MDL suggests that many Plaintiffs will not
               be able to prove causation.

       It is also appropriate to require proof of injury and causation when, as here, the history of

the litigation shows that “cases are more likely to result in dismissal once discovery focuses on

issues related to causation.” In re Fosamax Prod. Liab. Litig., No. 06 MD 1789 JFK, 2012 WL

5877418, at *3. In re Fosamax, a pharmaceutical MDL much like this one, is instructive. There,

of the 35 cases selected for case-specific discovery, 11 were dismissed, and more than half of the

remaining 12 cases that were set for trial were dismissed. Id. at *1. Noting that the plaintiffs tended

to dismiss their cases when required to provide evidence of causation, the court concluded it “ha[d]




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reason to believe that spurious or meritless cases [were] lurking in the some 1,000 cases on the

MDL docket.” Id.

            The statistics in this case far exceed those in In re Fosamax. Here, less than 5% of cases

have proven amenable to prosecution. Approximately half of the cases selected as bellwethers

were removed or disqualified from the pool for, among other things, failure to establish product

identification or failure to provide requisite photographs of the alleged hair loss injury. 7 Another

four cases were voluntarily dismissed with prejudice by plaintiffs. 8 Of the 19 bellwether cases to

face dispositive motion practice, all but two (89%) were dismissed or are subject to dismissal.9

Thus, even for cases carefully selected by both sides for bellwether treatment, more than 95%

could not reach trial.

            Former bellwether Plaintiff Lisa Tuyes is a prime example. Ms. Tuyes filed suit in October

2016 alleging she suffered from PCIA caused by Taxotere 10 but conceded in her Plaintiff Fact

Sheet that she had received no diagnosis. 11 The photographs that Ms. Tuyes submitted in lieu of

a diagnosis showed no appreciable hair loss. 12 In 2018, Ms. Tuyes was selected as one of four

options for the first bellwether trial. 13 When Ms. Tuyes finally received a scalp biopsy during




7
      Ex. B, Sanofi Bellwether Tracking Chart.
8
      Id.
9
      Id. The Court has granted summary judgment in Sanofi’s favor in 10 bellwether cases. After the Court granted
      Sanofi’s motion for judgment on the pleadings on the claims of bellwether plaintiff Juanita Greer, six Mississippi
      bellwether plaintiffs would be subject to dismissal under Sanofi’s proposed show-cause order. See Rec. Doc.
      13746 (Mot. for Rule to Show Cause Regarding Dismissal of Mississippi Pls.).
10
      Ex. C, Tuyes Short Form Compl.
11
      Ex. D, Tuyes Pl. Fact Sheet at 17.
12
      See Ex. E (composite exhibit containing “before” and “after” photos – filed under seal).
13
      Rec. Doc. 1819 (Case Management Order No. 13).


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phase-two discovery, Plaintiff’s expert dermapathologist diagnosed Ms. Tuyes not with PCIA, but

rather with androgenetic alopecia, 14 an inherited form of hair loss affecting more than 40 percent

of all women. 15 By the time she was removed from the trial pool, the parties had collected records

for 14 months and deposed 10 witnesses to prepare her case for trial—all of which could have been

avoided had Ms. Tuyes been required to submit proof of diagnosis at an earlier time.

          Similarly, former trial pool Plaintiff Sheila Crayton never received a diagnosis of PCIA

caused by Taxotere. 16 Like Ms. Tuyes, Ms. Crayton submitted photographs, which showed no

discernible hair loss. 17 After Ms. Crayton was selected for the trial pool, the parties conducted

extensive discovery, collecting records for 26 months, deposing 10 witnesses, and proceeding with

expert discovery. Yet, Ms. Crayton was never examined by Plaintiffs’ retained expert or any

medical doctor for her alleged injury, and Plaintiffs chose not to secure a diagnosis even after

selection. Ms. Crayton’s case was later withdrawn from the trial pool, 18 and, on Sanofi’s motion,

this Court dismissed Ms. Crayton’s case for failure to provide expert evidence that she had PCIA

caused by Taxotere. 19

          Wave discovery has been no different. The Court and the parties identified 200 cases for

the Wave 1 remand process. 20 Four cases resolved after this Court ordered a bellwether mediation


14
      Ex. F, Apr. 27, 2018 Thompson Rpt. (Tuyes) at 2.
15
      Ex. G, Oct. 9, 2020 Shapiro Rpt. at 6.
16
      Ex. H, Crayton Pl. Fact Sheet at 16.
17
      See Ex. E (composite exhibit containing “before” and “after” photos – filed under seal).
18
      Rec. Doc. 8701 (Order).
19
      Rec. Doc. 11824 at 4–5 (Order & Reasons Granting in Part and Denying in Part Sanofi’s Mot. for Summ. J. on
      the Claims of Sheila Crayton) (“Under Louisiana law, ‘expert medical testimony is required when the
      conclusion regarding medical causation is one that is not within common knowledge.’” (quoting Burst v. Shell
      Oil Co., Civil Action No. 14–109, 2014 WL 3893304, at *2 (E.D. La. Aug. 8, 2014))).
20
      Rec. Doc. 14045 (CMO 34); Rec. Doc. 13946 (CMO 33) (setting forth the Wave 1 remand process).


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process for Wave 1 cases. One additional Wave 1 case resolved following mediation. By April

3, 2023, only 93 plaintiffs’ cases remained in Wave 1, 21 but Plaintiffs continued to dismiss their

lawsuits, asked to defer to a later wave, or were ruled or agreed to be ineligible for Wave 1.

Ultimately, the Court transferred 82 cases back to their designated venues in the district courts,22

where fewer than fifty now remain pending—and many of those are or will be subject to dispositive

motion practice.

          On June 23, 2023, this Court identified 1,000 additional cases for Wave 2. 23 After the

parties reviewed those cases, the number amenable for remand/transfer was reduced to 573 due to

questions of product identification, subject matter jurisdiction, the Court’s prior fence-post rulings,

and other concerns related to their candidacy for prosecution. 24 At this point, fewer than 400 cases

remain active, reinforcing prior experience with the difficulties in identifying viable claims in this

litigation.

          As in In re Fosamax, the litigation history of this case, particularly “Plaintiffs’ habit of

dismissing cases after both parties have expended time and money on [case-specific] discovery[,]

demonstrates that this MDL is ripe for a Lone Pine order.” 2012 WL 5877418, at *3. As noted, a

full 80% or more of the thousands of remaining Plaintiffs admit they have never even discussed

their claimed injury with a care provider, much less attempted to secure a diagnosis. It is likely

many of these Plaintiffs will never receive a diagnosis of PCIA caused by Taxotere.




21
      Rec. Doc. 15761 (CMO 34D).
22
      Rec. Doc. 15836 (Transfer Order).
23
      Rec. Doc. 16347 (Wave 2 Transfer Order).
24
      Rec. Doc. 16511 (Amended Wave 2 Transfer Order).


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         Defendants’ request is well-within this Court’s discretion to grant. Defendants are simply

asking that Plaintiffs be required to produce case-specific expert evidence on causation that

complies with Rule 702—which would be required to move any single case forward. The injury

alleged in this litigation is such that expert testimony as to the injury diagnosis and its cause is

necessary in order to prove liability. 25 Defendants merely request that Plaintiffs be required to

produce that evidence now so that additional time and resources are not wasted. The Ninth Circuit

has recognized that use of a Lone Pine order under these circumstances is inherent to the court’s

“authority to determine when—and in what sequence—expert testimony must be disclosed.” See

Avila, 633 F.3d at 834 (citing Federal Rule of Civil Procedure 26(a)(2)(C)).

         C.      Plaintiffs’ failure to even minimally investigate their claims persists despite the
                 Court’s substantial case management efforts.

         Even those courts that have expressed skepticism about the use of Lone Pine orders as pre-

discovery tools have acknowledged that such orders may become necessary later in the litigation

when other, more traditional MDL case-management tools have failed. See, e.g., In re Digitek, 264

F.R.D. at 256 (holding that a Lone Pine order was premature because more traditional procedural

mechanisms had yet to be exhausted). Here, entering a Lone Pine order is more than justified.

         The Court has made substantial efforts to control this litigation and cull meritless lawsuits

using more traditional case management tools. Under Pretrial Order No. 18, the Court directed

each Plaintiff to submit a Plaintiff Fact Sheet, which requires each Plaintiff to identify her injuries,

indicate whether she has received a diagnosis for her injuries, and submit medical records showing




25
     See Rec. Doc. 11824 at 4 (Order & Reasons Granting in Part and Denying in Part Sanofi’s Mot. for Summ. J. on
     the Claims of Sheila Crayton) (“Under Louisiana law, ‘expert medical testimony is required when the
     conclusion regarding medical causation is one that is not within common knowledge.’” (quoting Burst v. Shell
     Oil Co., Civil Action No. 14–109, 2014 WL 3893304, at *2 (E.D. La. Aug. 8, 2014)).


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proof of diagnosis or photographs showing hair before and after treatment. 26 The Court later

thinned the MDL pool by dismissing Plaintiffs with no proof of product ID and/or Plaintiffs who

failed to submit photographs (and also had no proof of diagnosis). The Court also ruled on many

dispositive motions, the vast majority disposing of spurious lawsuits, and oversaw two trials, both

of which resulted in verdicts finding medical causation lacking, or finding the warnings sufficient

to warn of alopecia, by juries of the plaintiffs’ peers. These MDL proceedings were designed to

identify and dispose of specific (but necessarily limited) claims of Plaintiffs whose cases could not

succeed at trial and, more broadly, to help the parties value the cases that remained. Yet, despite

those efforts, likely thousands of meritless claims remain pending with Plaintiffs continuing to

avoid even discussing their injury with care providers, much less securing a diagnosis. Entry of

Defendants’ proposed order would save the Court and the parties the time and expense of

addressing such meritless claims.

          D.       Sanofi’s proposal offers a plan for complete disposition of the remaining cases
                   in MDL No. 2740.

          Sanofi’s proposed order outlines a process for disposition of the remaining hair loss cases

pending in MDL 2740. Sanofi specifically requests that, for the effective management of the

remaining inventory, no further remands take place outside of the parameters of its proposed order.

Other parameters of Sanofi’s proposed order are as follows:


         Wave 3 Case Selection. The Wave 3 Order is limited to non-settling plaintiffs’ cases.

         Wave 3 Eligibility & Exclusion Criteria. Only Sanofi/Winthrop cases are included. The
          stay would remain in place as to 505(b)(2) defendants or mixed product
          identification/multi-manufacturer cases. The Court could determine at a later date whether
          or how to apply the Lone Pine Order to other Waves.

         Willingness to Proceed. Sanofi proposes Certificates of Willingness to Proceed to vet the
          ongoing viability of the remaining, non-settling plaintiffs cases to better ascertain the total
26
      See generally Rec. Doc. 236-1 (Pl. Fact Sheet).


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         number of remaining viable cases for potential resolution, as well as for proceeding with
         discovery. As we have seen many times in this litigation, a certain percentage of Plaintiffs
         will no longer wish to proceed with their case when it is selected to move forward.
         Plaintiffs will also inevitably be lost to follow-up and/or are no longer in contact with their
         attorneys.

        Updated Plaintiff Fact Sheet and Authorizations. Next, plaintiffs would update their PFSs
         and authorizations.

        Expert Medical Declaration. For the Lone Pine portion of the proposed order, Plaintiffs
         would undergo a physical examination by a qualified physician 27 (and if medically
         necessary, a punch biopsy) in order to provide a differential-diagnosis opinion sufficient to
         meet the requirements of Rule 702 and showings of specific causation, all as reflected by
         the Court’s prior rulings. Sanofi has included multiple safeguards aimed at protecting
         plaintiffs from mass tort abuse seen in prior women’s health litigations.

        Limited Discovery. Sanofi proposes that the Court allows limited case-specific discovery
         and Rule 702 motion practice, focused on diagnosis of the alleged injury and other key
         factual/legal hurdles typically dispositive of cases in MDL 2740 based on the Court’s prior
         experience through bellwether case work-up. This would allow the parties an informed
         basis for mediating the case prior to any further remands.

        Dismissals. Where plaintiffs fail to complete the discovery described in the proposed
         order, Sanofi proposes a streamlined process for dismissal utilizing the Court’s ordinary
         processes through Declarations of Attempted Attorney Contact and Rules to Show Cause.
         This proposal creates a complete framework for disposition of all remaining
         Sanofi/Winthrop cases in that the cases are either: (1) dismissed, (2) mediated, or (3)
         remanded with a sufficient Rule 702 diagnosis of injury but only after failed mediation.

        Mandatory Mediation. As indicated, Sanofi’s proposal would require mediation after the
         requirements set out above are completed but prior to any further, future remands. Sanofi
         believes the settlement values of these cases are well-established by prior mediation
         processes originated by this Court, including the existence of multiple, large inventory
         settlements totaling more than 2,500 cases.

Sanofi believes its proposal fairly and reasonably provides a complete framework for disposition

of the remaining cases in MDL 2740.




27
     This includes possessing the appropriate specialized qualifications required to diagnose the injury and its cause
     (such as certain dermatologists, dermatopathologists, or potentially, certain oncologists). A general practitioner,
     for example, will not suffice.


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                                       CONCLUSION

       Defendants respectfully request that the Court grant this Motion and enter the proposed

order (attached as Exhibit A).



                                                   Respectfully submitted,

                                                   /s/ Douglas J. Moore
                                                   Douglas J. Moore (Bar No. 27706)
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                                                   Sanofi U.S. Services Inc.




                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 1, 2023, I electronically filed the foregoing with the
Clerk of the Court using the ECF system which sent notification of such filing to all counsel of
record.



                                                           /s/ Douglas J. Moore




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